EXHIBIT C
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


  PDV USA, INC.,                                             Case No. 20-cv-03699 (JGK)

                    Plaintiff,
  v.

  UNRELATED TO CONSULTING
  AGREEMENT AT ISSUE IN THIS CASE.
  CONSULTING, INC.,

                    Defendant.


                                 DEFENDANT’S PRIVILEGE LOG

           Defendant, UNRELATED TO CONSULTING AGREEMENT AT ISSUE IN THIS

 CASE. CONSULTING, INC., by and through its undersigned counsel, under Local Civil Rule

 26.2, hereby submits the following privilege log to Plaintiff, PDV USA, Inc., in conjunction with

 its Responses to Requests for Production.



                                   Participants
                                 Including David
Format         Date/Time              Rivera                  Subject               Privilege Asserted

                                                   Political discussion unrelated
               5/11/2019
Text Msg                         Unknown           to Consulting Agreement at        Non-Responsive
                 22:01
                                                   issue in this case.


                                                   Political discussion unrelated
                9/3/2020
Text Msg                         Rhonda Lopez      to Consulting Agreement at        Non-Responsive
                 15:48
                                                   issue in this case.


                                                   Political discussion unrelated
               1/28/2021
Text Msg                         Rey Lastre        to Consulting Agreement at        Non-Responsive
                 10:52
                                                   issue in this case.
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

                                              Political discussion unrelated
             1/28/2021
Text Msg                    Rey Lastre        to Consulting Agreement at        Non-Responsive
               10:33
                                              issue in this case.


                                              Political discussion unrelated
             1/28/2021
Text Msg                    Rey Lastre        to Consulting Agreement at        Non-Responsive
               10:31
                                              issue in this case.


                                              Political discussion unrelated
             1/17/2021
Text Msg                    Rey Lastre        to Consulting Agreement at        Non-Responsive
               23:55
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   1/19/2021 8:16   Unknown           to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Attorney/Client                   Attorney-Client
Text Msg   1/19/2021 8:14   Lori Weems
                                              communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   1/19/2021 8:11   Lori Weems
                                              communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   1/19/2021 8:07   Lori Weems
                                              communication                        privilege



             1/18/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               12:00                          communication                        privilege


                            Rowdy Rebman      Political discussion unrelated
Text Msg   7/30/2020 9:33   Lopez, Jorge      to Consulting Agreement at        Non-Responsive
                            Rebman Lopez      issue in this case.




                                              2
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

                            Rowdy Rebman       Political discussion unrelated
             6/30/2020
Text Msg                    Lopez, Jorge       to Consulting Agreement at        Non-Responsive
               14:04
                            Rebman Lopez       issue in this case.


                                               Political discussion unrelated
             8/31/2021      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               18:28        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             6/23/2021      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               20:26        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
            12/27/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               8:51         Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
            12/27/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               8:24         Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   9/7/2020 7:43                       to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             8/31/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               18:10        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             7/30/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               15:07        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   6/26/2020 8:59                      to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.




                                               3
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   6/22/2020 8:13                      to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   6/22/2020 8:10                      to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             5/11/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               14:50        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             4/11/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               10:35        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   4/5/2020 19:54                      to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             3/28/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               20:03        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   3/2/2020 9:30                       to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   2/24/2020 9:02                      to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             2/18/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               21:46        Miguel Siso
                                               issue in this case.




                                               4
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

                                               Political discussion unrelated
             2/17/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               15:19        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             2/17/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               15:11        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             2/17/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               13:02        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli,
Text Msg   2/6/2020 14:26                      to Consulting Agreement at        Non-Responsive
                            Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             5/27/2020
Text Msg                    Carolina Sivoli    to Consulting Agreement at        Non-Responsive
               18:03
                                               issue in this case.


                                               Political discussion unrelated
             5/19/2020
Text Msg                    Carolina Sivoli    to Consulting Agreement at        Non-Responsive
               17:04
                                               issue in this case.


                                               Political discussion unrelated
Text Msg   5/5/2020 11:35   Carolina Sivoli    to Consulting Agreement at        Non-Responsive
                                               issue in this case.


                                               Political discussion unrelated
             3/26/2020
Text Msg                    Carolina Sivoli    to Consulting Agreement at        Non-Responsive
               14:07
                                               issue in this case.


                                               Political discussion unrelated
             6/27/2021
Text Msg                    13057982467        to Consulting Agreement at        Non-Responsive
               14:03
                                               issue in this case.




                                               5
                          Participants
                        Including David
Format     Date/Time         Rivera                  Subject               Privilege Asserted

                                          Political discussion unrelated
           6/27/2021
Text Msg                Marco Rubio       to Consulting Agreement at        Non-Responsive
             14:03
                                          issue in this case.


                                          Political discussion unrelated
           5/25/2018
Text Msg                Marco Rubio       to Consulting Agreement at        Non-Responsive
             17:31
                                          issue in this case.


                                          Political discussion unrelated
           10/26/2020
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
              17:11
                                          issue in this case.


                                          Political discussion unrelated
           5/27/2020
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
             10:14
                                          issue in this case.


                                          Political discussion unrelated
           12/28/2019
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
              18:28
                                          issue in this case.


                                          Political discussion unrelated
           10/4/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
             16:25
                                          issue in this case.


                                          Political discussion unrelated
           3/27/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
             14:14
                                          issue in this case.


                                          Political discussion unrelated
           3/16/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
             16:39
                                          issue in this case.


                                          Political discussion unrelated
           3/16/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at        Non-Responsive
             16:39
                                          issue in this case.




                                          6
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

                                              Political discussion unrelated
            12/28/2019
Text Msg                    Sofia Rivera      to Consulting Agreement at        Non-Responsive
               21:47
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   4/7/2018 12:54   Sofia Rivera      to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
            12/29/2019
Text Msg                    17032981260       to Consulting Agreement at        Non-Responsive
               10:24
                                              issue in this case.


                                              Political discussion unrelated
             6/23/2019
Text Msg                    17032981260       to Consulting Agreement at        Non-Responsive
               22:59
                                              issue in this case.


            12/18/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               8:19                           communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   8/3/2019 11:18   Jeff Feldman
                                              communication                        privilege



             6/27/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               18:06                          communication                        privilege



             1/31/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               21:43                          communication                        privilege



             1/28/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               19:11                          communication                        privilege




                                              7
                          Participants
                        Including David
Format     Date/Time         Rivera                   Subject               Privilege Asserted

           12/6/2017                       Attorney/Client                   Attorney-Client
Text Msg                Jeff Feldman
             18:22                         communication                        privilege



           12/6/2017                       Attorney/Client                   Attorney-Client
Text Msg                Jeff Feldman
             18:22                         communication                        privilege


                                           Political discussion unrelated
           1/31/2020
Text Msg                Unknown            to Consulting Agreement at       Non-Responsive
             12:41
                                           issue in this case.


                                           Political discussion unrelated
           10/25/2019
Text Msg                Unknown            to Consulting Agreement at        Non-Responsive
              8:52
                                           issue in this case.


                                           Political discussion unrelated
           6/21/2020
Text Msg                Giancarlo Puppio   to Consulting Agreement at        Non-Responsive
             22:51
                                           issue in this case.


                                           Political discussion unrelated
           6/21/2020
Text Msg                Giancarlo Puppio   to Consulting Agreement at        Non-Responsive
             22:41
                                           issue in this case.


                                           Political discussion unrelated
           6/21/2020
Text Msg                Giancarlo Puppio   to Consulting Agreement at        Non-Responsive
             20:56
                                           issue in this case.


                                           Political discussion unrelated
           6/21/2020
Text Msg                Giancarlo Puppio   to Consulting Agreement at        Non-Responsive
             20:56
                                           issue in this case.


                                           Personal discussion unrelated
           6/21/2018
Text Msg                Unknown            to Consulting Agreement at       Non-Responsive
             19:01
                                           issue in this case.




                                           8
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

                                              Personal discussion unrelated
             6/21/2018
Text Msg                    Unknown           to Consulting Agreement at       Non-Responsive
               19:00
                                              issue in this case.


                                              Political discussion unrelated
            12/29/2019
Text Msg                    15182813994       to Consulting Agreement at        Non-Responsive
               1:56
                                              issue in this case.


                                              Political discussion unrelated
            12/29/2019
Text Msg                    15182813994       to Consulting Agreement at        Non-Responsive
               1:56
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   2/4/2021 8:54    Bertica Cabrera   to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
             6/21/2020
Text Msg                    Bertica Cabrera   to Consulting Agreement at        Non-Responsive
               22:43
                                              issue in this case.


                                              Political discussion unrelated
             6/21/2020
Text Msg                    Bertica Cabrera   to Consulting Agreement at        Non-Responsive
               22:42
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   2/8/2019 10:23   Bertica Cabrera   to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   5/23/2018 9:54   Bertica Cabrera   to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   4/5/2018 14:48   Bertica Cabrera   to Consulting Agreement at        Non-Responsive
                                              issue in this case.




                                              9
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

                                              Political discussion unrelated
                            Maria Elvira
Text Msg   1/18/2021 8:10                     to Consulting Agreement at        Non-Responsive
                            Salazar
                                              issue in this case.


                                              Discussion unrelated to
                            Maria Elvira
Text Msg   5/17/2020 9:32                     Consulting Agreement at issue    Non-Responsive
                            Salazar
                                              in this case.


             6/26/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               18:51                          communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   5/16/2020 6:38   Lori Weems
                                              communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   5/16/2020 6:38   Lori Weems
                                              communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   5/15/2020 0:18   Lori Weems
                                              communication                        privilege


                                              Political discussion unrelated
             8/31/2020
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               10:46
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   1/6/2020 6:20    Unknown           to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
             6/23/2019
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               22:09
                                              issue in this case.




                                              10
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

                                              Political discussion unrelated
Text Msg   6/13/2019 9:05   Unknown           to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   6/13/2019 9:05   Unknown           to Consulting Agreement at       Non-Responsive
                                              issue in this case.


             5/16/2020                        Attorney/Client
Text Msg                    Al Cardenas                                        Non-Responsive
               13:04                          Communication


                                              Political discussion unrelated
Text Msg   6/22/2020 9:52   Pete Sessions     to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   7/6/2019 9:48    Pete Sessions     to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   7/6/2019 9:45    Pete Sessions     to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   7/6/2019 9:42    Pete Sessions     to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
             7/30/2020
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               13:03
                                              issue in this case.


                                              Political discussion unrelated
             7/30/2020      Esther Nuhfer,
Text Msg                                      to Consulting Agreement at        Non-Responsive
               13:52        Unknown
                                              issue in this case.




                                              11
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

                                               Political discussion unrelated
             7/25/2020      Esther Nuhfer,
Text Msg                                       to Consulting Agreement at       Non-Responsive
               12:29        Unknown
                                               issue in this case.


                                               Political discussion unrelated
Text Msg   5/16/2020 7:17   Claudia Miro       to Consulting Agreement at       Non-Responsive
                                               issue in this case.


                                               Political discussion unrelated
             5/19/2020
Text Msg                    Miguel Siso        to Consulting Agreement at       Non-Responsive
               14:38
                                               issue in this case.

                            Esther Nuhfer,
                                               Political discussion unrelated
             7/30/2020      Unknown, Rowdy
Text Msg                                       to Consulting Agreement at       Non-Responsive
               19:46        Rebman Lopez,
                                               issue in this case.
                            Unknown

                                               Political discussion unrelated
                                               to Consulting Agreement at
Text Msg   5/7/2020 10:34   Unknown                                             Non-Responsive
                                               issue in this case.


                                               Political discussion unrelated
             6/21/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at       Non-Responsive
               20:25        Unknown
                                               issue in this case.


                                               Attorney/Client                   Attorney-Client
Text Msg   1/15/2021 7:14   Jeff Feldman
                                               communication                        privilege



                                               Attorney/Client                   Attorney-Client
Text Msg   1/15/2021 8:13   Lori Weems
                                               communication                        privilege



                                               Attorney/Client                   Attorney-Client
Text Msg   1/15/2021 8:15   Lori Weems
                                               communication                        privilege




                                               12
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:16   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:18   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:19   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:20   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:22   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:22   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:23   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:32   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:42   Lori Weems
                                              communication           privilege




                                              13
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:44   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:44   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:46   Jeff Feldman
                                              communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:01                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               22:54                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:55                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:01                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:07                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:10                          communication           privilege




                                              14
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

             1/16/2021                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               12:07                          communication           privilege



             1/16/2021                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               12:08                          communication           privilege



             1/16/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               12:09                          communication           privilege



             1/16/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               12:10                          communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/17/2021 0:28   Lori Weems
                                              communication           privilege



             1/17/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               10:22                          communication           privilege



             1/17/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               10:41                          communication           privilege



             1/17/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               11:10                          communication           privilege



             1/17/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               11:11                          communication           privilege




                                              15
                         Participants
                       Including David
Format     Date/Time        Rivera                 Subject   Privilege Asserted

           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             11:12                       communication           privilege



           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             11:19                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             15:22                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             16:30                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             16:31                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             16:35                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             18:01                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             18:16                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             22:26                       communication           privilege




                                         16
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:49                          communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:59                          communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:04                          communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 0:15   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:05   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:07   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:07   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:09   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:11   Lori Weems
                                              communication           privilege




                                              17
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

             1/23/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               15:50                          communication                        privilege



             1/26/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               22:01                          communication                        privilege



             1/29/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               13:31                          communication                        privilege



             1/29/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               13:31                          communication                        privilege



             1/29/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               13:31                          communication                        privilege


                                              Political discussion unrelated
Text Msg   2/6/2019 19:32   Max Alvarez       to Consulting Agreement at       Non-Responsive
                                              issue in this case.


                                              Attorney/Client                   Attorney-Client
Text Msg   2/6/2021 12:05   Jeff Feldman
                                              communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   2/9/2020 11:40   Miguel Siso
                                              communication                        privilege



             2/11/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Max Alvarez
               15:19                          communication                        privilege




                                              18
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

             2/12/2019                         Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               10:30                           communication                        privilege



             2/13/2019                         Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               14:35                           communication                        privilege


                                               Political discussion unrelated
             2/13/2019
Text Msg                    Max Alvarez        to Consulting Agreement at        Non-Responsive
               14:36
                                               issue in this case.


                                               Political discussion unrelated
             2/18/2019
Text Msg                    Max Alvarez        to Consulting Agreement at        Non-Responsive
               11:21
                                               issue in this case.


                                               Political discussion unrelated
Text Msg   3/2/2018 9:35    Esther Nuhfer      to Consulting Agreement at        Non-Responsive
                                               issue in this case.


                                               Political discussion unrelated
                            Carolina Sivoli
Text Msg   3/2/2020 15:37                      to Consulting Agreement at        Non-Responsive
                            and Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             4/21/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at        Non-Responsive
               20:06        Miguel Siso
                                               issue in this case.


             5/13/2020                         Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               13:58                           communications                       privilege



                                               Attorney/Client                   Attorney-Client
Text Msg   5/16/2020 6:38   Lori Weems
                                               communications                       privilege




                                               19
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

             5/16/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               10:16                          communications                       privilege



             5/16/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               10:41                          communications                       privilege



             5/16/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Al Cardenas
               13:04                          communications                       privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   5/21/2020 6:17   Tucker Byrd
                                              communications                       privilege


                                              Political discussion unrelated
Text Msg   5/23/2018 9:54   Bertica Cabrera   to Consulting Agreement at       Non-Responsive
                                              issue in this case.


                                              Attorney/Client                   Attorney-Client
Text Msg   6/16/2019 9:00   Jeff Feldman
                                              communication                        privilege



             6/24/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Tucker Byrd
               20:05                          communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   7/2/2020 13:46   Loren Granoff
                                              communication                        privilege



             7/12/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Tucker Byrd
               10:54                          communication                        privilege




                                              20
                         Participants
                       Including David
Format     Date/Time        Rivera                 Subject   Privilege Asserted

           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             16:23                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             16:26                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             16:52                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             16:53                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             16:57                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             16:58                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             17:04                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             17:06                       communication           privilege



           7/18/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             17:07                       communication           privilege




                                         21
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

             7/18/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               17:08                          communication                        privilege



             7/18/2019                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               17:47                          communication                        privilege



             8/25/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Tucker Byrd
               21:54                          communication                        privilege


                                              Political discussion unrelated
Text Msg   9/8/2018 13:11   Esther Nuhfer     to Consulting Agreement at       Non-Responsive
                                              issue in this case.


                                              Attorney/Client                   Attorney-Client
Text Msg   9/27/2020 9:33   Jeff Feldman
                                              communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   9/27/2020 9:33   Jeff Feldman
                                              communication                        privilege



             10/8/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               11:46                          communication                        privilege



             10/8/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               11:46                          communication                        privilege



             10/8/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               11:50                          communication                        privilege




                                              22
                          Participants
                        Including David
Format     Date/Time         Rivera                 Subject   Privilege Asserted

           10/8/2020                      Attorney/Client      Attorney-Client
Text Msg                Lori Weems
             14:20                        communication           privilege



           10/8/2020                      Attorney/Client      Attorney-Client
Text Msg                Lori Weems
             14:23                        communication           privilege



           10/8/2020                      Attorney/Client      Attorney-Client
Text Msg                Lee Boyd
             14:47                        communication           privilege



           10/18/2020                     Attorney/Client      Attorney-Client
Text Msg                Lori Weems
              9:46                        communication           privilege



           10/18/2020                     Attorney/Client      Attorney-Client
Text Msg                Lori Weems
              9:50                        communication           privilege



           10/31/2020                     Attorney/Client      Attorney-Client
Text Msg                Lori Weems
              7:53                        communication           privilege



           10/31/2020                     Attorney/Client      Attorney-Client
Text Msg                Lori Weems
              7:53                        communication           privilege



           11/2/2020                      Attorney/Client      Attorney-Client
Text Msg                Lori Weems
             23:24                        communication           privilege



           11/2/2020                      Attorney/Client      Attorney-Client
Text Msg                Lori Weems
             23:30                        communication           privilege




                                          23
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

             11/2/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               23:35                          communication                        privilege



             12/6/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               18:22                          communication                        privilege



             12/6/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               18:22                          communication                        privilege



            12/31/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               0:44                           communication                        privilege



            12/31/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               1:04                           communication                        privilege


                                              Political discussion unrelated
Text Msg   8/2/2018 10:14   Unknown           to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   7/25/2020 0:28   Rhonda Lopez      to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
             4/10/2019
Text Msg                    Rhonda Lopez      to Consulting Agreement at        Non-Responsive
               23:34
                                              issue in this case.


                            Rowdy Rebman      Political discussion unrelated
Text Msg   2/5/2020 8:26    Lopez, Jorge      to Consulting Agreement at        Non-Responsive
                            Rebman Lopez      issue in this case.




                                              24
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject                Privilege Asserted

                                                Political discussion unrelated
             6/17/2020      Carolina Sivoli,
Text Msg                                       to Consulting Agreement at         Non-Responsive
               12:26        Miguel Siso
                                               issue in this case.


                                               Political discussion unrelated
             3/31/2018
Text Msg                    Esther Nuhfer      to Consulting Agreement at         Non-Responsive
               10:13
                                               issue in this case.


                                               Personal discussion unrelated
Text Msg   9/6/2018 22:11   Sofia Rivera       to Consulting Agreement at         Non-Responsive
                                               issue in this case.


                                               Personal discussion unrelated
Text Msg   9/6/2018 21:59   Sofia Rivera       to Consulting Agreement at         Non-Responsive
                                               issue in this case.


                                               Personal discussion unrelated
Text Msg   7/10/2018 8:51   Sofia Rivera       to Consulting Agreement at         Non-Responsive
                                               issue in this case.


                                                Personal discussion unrelated
             5/23/2018
Text Msg                    Sofia Rivera       to Consulting Agreement at         Non-Responsive
               13:32
                                               issue in this case.


                                                Personal discussion unrelated
             9/23/2018
Text Msg                    Unknown            to Consulting Agreement at         Non-Responsive
               14:45
                                               issue in this case.


                                                Personal discussion unrelated
             1/23/2021
Text Msg                    Unknown            to Consulting Agreement at         Non-Responsive
               13:47
                                               issue in this case.


                                               Personal discussion unrelated
Text Msg   3/7/2018 9:04    Unknown            to Consulting Agreement at         Non-Responsive
                                               issue in this case.




                                               25
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject                Privilege Asserted

                                              Political discussion unrelated
             8/16/2020
Text Msg                    Unknown           to Consulting Agreement at         Non-Responsive
               11:37
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   6/5/2019 17:20   Unknown           to Consulting Agreement at         Non-Responsive
                                              issue in this case.

                            Rowdy Rebman
                                              Political discussion unrelated
             8/16/2020      Lopez, Unknown,
Text Msg                                      to Consulting Agreement at         Non-Responsive
               11:28        Jorge Rebman
                                              issue in this case.
                            Lopez

                                              Attorney/Client
            11/10/2017                                                           Attorney-Client
Text Msg                    Unknown           communication
               10:26                                                                Privilege


                                              Political discussion unrelated
Text Msg   7/1/2020 19:48   Unknown           to Consulting Agreement at         Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
             6/19/2020
Text Msg                    Unknown           to Consulting Agreement at         Non-Responsive
               12:51
                                              issue in this case.

                            Esther Nuhfer,
                            Unknown,
                                               Political discussion unrelated
                            Unknown,
Text Msg   4/14/2020 9:41                     to Consulting Agreement at         Non-Responsive
                            Unknown,
                                              issue in this case.
                            Unknown,
                            Unknown

             1/30/2021                        Attorney/Client                    Attorney-Client
Text Msg                    Lori Weems
               14:47                          communication                         privilege



             1/23/2021                        Attorney/Client                    Attorney-Client
Text Msg                    Lori Weems
               15:50                          communication                         privilege




                                              26
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:12   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:09   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 8:05   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/19/2021 0:15   Lori Weems
                                              communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:36                          communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:59                          communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:59                          communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:49                          communication           privilege



             1/18/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:26                          communication           privilege




                                              27
                         Participants
                       Including David
Format     Date/Time        Rivera                 Subject   Privilege Asserted

           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             20:56                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             16:46                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             16:31                       communication           privilege



           1/18/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             15:22                       communication           privilege



           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             13:43                       communication           privilege



           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             12:07                       communication           privilege



           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             11:12                       communication           privilege



           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             11:11                       communication           privilege



           1/17/2021                     Attorney/Client      Attorney-Client
Text Msg               Lori Weems
             10:59                       communication           privilege




                                         28
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

             1/17/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               10:41                          communication           privilege



             1/17/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               10:22                          communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/17/2021 0:28   Lori Weems
                                              communication           privilege



             1/16/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               12:11                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:10                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:09                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:08                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               23:07                          communication           privilege



             1/15/2021                        Attorney/Client      Attorney-Client
Text Msg                    Lori Weems
               22:55                          communication           privilege




                                              29
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:42   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:28   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:20   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:19   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:16   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:15   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:13   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:12   Lori Weems
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   1/15/2021 8:01   Lori Weems
                                              communication           privilege




                                              30
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

                                               Political discussion unrelated
Text Msg   5/23/2020 8:33   Carolina Sivoli,   to Consulting Agreement at        Non-Responsive
                                               issue in this case.


                                               Political discussion unrelated
            11/27/2020
Text Msg                    Esther Nuhfer      to Consulting Agreement at        Non-Responsive
               7:38
                                               issue in this case.


                                               Attorney/Client                   Attorney-Client
Text Msg   5/1/2021 8:25    Jeff Feldman
                                               communication                        privilege



             1/16/2021                         Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               12:11                           communication                        privilege



                                               Attorney/Client                   Attorney-Client
Text Msg   1/16/2021 8:18   Jeff Feldman
                                               communication                        privilege



             1/15/2021                         Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               22:54                           communication                        privilege



             1/14/2021                         Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               21:22                           communication                        privilege



                                               Attorney/Client                   Attorney-Client
Text Msg   8/3/2019 11:18   Jeff Feldman
                                               communication                        privilege



             2/26/2019                         Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               16:21                           communication                        privilege




                                               31
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

             2/13/2019                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               14:35                          communication           privilege



             2/12/2019                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               10:30                          communication           privilege



             2/11/2019                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               10:23                          communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   2/9/2019 10:44   Jeff Feldman
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   2/8/2019 9:22    Jeff Feldman
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   2/7/2019 9:47    Jeff Feldman
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   2/6/2019 23:43   Jeff Feldman
                                              communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   2/6/2019 23:04   Jeff Feldman
                                              communication           privilege



             1/31/2019                        Attorney/Client      Attorney-Client
Text Msg                    Jeff Feldman
               21:45                          communication           privilege




                                              32
                         Participants
                       Including David
Format     Date/Time        Rivera                 Subject   Privilege Asserted

           1/31/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             21:43                       communication           privilege



           1/31/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             20:21                       communication           privilege



           1/31/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             17:46                       communication           privilege



           1/29/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             13:31                       communication           privilege



           1/29/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             13:31                       communication           privilege



           1/29/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             13:31                       communication           privilege



           1/29/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             13:31                       communication           privilege



           1/29/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             13:31                       communication           privilege



           1/29/2019                     Attorney/Client      Attorney-Client
Text Msg               Jeff Feldman
             13:31                       communication           privilege




                                         33
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

            11/29/2018                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               5:58                           communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   8/9/2018 20:14   Jeff Feldman
                                              communication                        privilege



            12/31/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               0:54                           communication                        privilege



            12/31/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               0:51                           communication                        privilege



            12/31/2017                        Attorney/Client                   Attorney-Client
Text Msg                    Jeff Feldman
               0:44                           communication                        privilege


                                              Personal discussion unrelated
            10/23/2021
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               9:24
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   2/6/2019 23:02   Unknown           to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   2/6/2019 22:59   Unknown           to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Attorney/Client
             1/25/2021                                                          Attorney-Client
Text Msg                    Unknown           Communication
               19:31                                                               privilege




                                              34
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

             1/25/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Unknown
               19:03                          Communication                        privilege


                                              Political discussion unrelated
             2/13/2019
Text Msg                    Max Alvarez       to Consulting Agreement at        Non-Responsive
               19:43
                                              issue in this case.

                                              Political discussion unrelated
             2/13/2019                        to Consulting Agreement at
Text Msg                    Max Alvarez                                         Non-Responsive
               16:39                          issue in this case.


                                              Political discussion unrelated
             2/13/2019
Text Msg                    Max Alvarez       to Consulting Agreement at        Non-Responsive
               14:36
                                              issue in this case.


                                              Political discussion unrelated
             2/12/2019
Text Msg                    Max Alvarez       to Consulting Agreement at        Non-Responsive
               18:05
                                              issue in this case.


                                              Political discussion unrelated
             2/11/2019
Text Msg                    Max Alvarez       to Consulting Agreement at        Non-Responsive
               10:50
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   2/9/2019 15:01   Max Alvarez       to Consulting Agreement at        Non-Responsive
                                              issue in this case.


                                              Political discussion unrelated
Text Msg   2/7/2019 0:29    Max Alvarez       to Consulting Agreement at        Non-Responsive
                                              issue in this case.


             8/20/2021                        Attorney/Client                   Attorney-Client
Text Msg                    Tucker Byrd
               14:51                          communication                        privilege




                                              35
                              Participants
                            Including David
Format      Date/Time            Rivera                 Subject   Privilege Asserted

             8/20/2021                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               14:48                          communication           privilege



             8/20/2021                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               14:47                          communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   8/20/2021 7:49   Tucker Byrd
                                              communication           privilege



             7/12/2021                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               10:54                          communication           privilege



                                              Attorney/Client      Attorney-Client
Text Msg   7/10/2021 9:05   Tucker Byrd
                                              communication           privilege



             6/25/2021                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               10:01                          communication           privilege



             6/25/2021                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               10:00                          communication           privilege



             5/25/2020                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               13:13                          communication           privilege



             5/18/2020                        Attorney/Client      Attorney-Client
Text Msg                    Tucker Byrd
               14:45                          communication           privilege




                                              36
                              Participants
                            Including David
Format      Date/Time            Rivera                  Subject               Privilege Asserted

                                              Political discussion unrelated
            11/27/2020
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               7:37
                                              issue in this case.


                                              Political discussion unrelated
            11/21/2020
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               7:31
                                              issue in this case.


             10/8/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Lori Weems
               11:46                          communication                        privilege



                                              Attorney/Client                   Attorney-Client
Text Msg   5/16/2020 6:38   Lori Weems
                                              communication                        privilege


                                              Political discussion unrelated
            11/27/2020
Text Msg                    Unknown           to Consulting Agreement at        Non-Responsive
               7:37
                                              issue in this case.


             5/16/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Al Cardenas
               13:04                          communication                        privilege



            10/21/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Louis Fogel
               11:31                          communication                        privilege



             9/29/2020                        Attorney/Client                   Attorney-Client
Text Msg                    Unknown
               12:22                          Communication                        privilege


                                              Political discussion unrelated
             5/18/2020
Text Msg                    Miguel Siso       to Consulting Agreement at        Non-Responsive
               10:48
                                              issue in this case.




                                              37
                              Participants
                            Including David
Format      Date/Time            Rivera                   Subject               Privilege Asserted

                                               Political discussion unrelated
Text Msg   2/8/2021 12:23   Unknown            to Consulting Agreement at        Non-Responsive
                                               issue in this case.


                                               Political discussion unrelated
             5/28/2020
Text Msg                    Giancarlo Puppio   to Consulting Agreement at        Non-Responsive
               23:53
                                               issue in this case.


                                               Attorney/Client                   Attorney-Client
Text Msg   5/16/2020 6:38   Lori Weems
                                               communication                        privilege



             5/16/2020                         Attorney/Client                   Attorney-Client
Text Msg                    Al Carendas
               13:04                           communication                        privilege


                                               political discussion unrelated
            02/20/2019
Text Msg                    Marco Rubio        to Consulting Agreement at        Non-Responsive
             07:38:00
                                               issue in this case.


                                               personal discussion unrelated
            07/27/2021
Text Msg                    Esther Nuhfer      to Consulting Agreement at        Non-Responsive
             08:30:02
                                               issue in this case.


                                               Personal discussion unrelated
            04/17/2020
Text Msg                    Esther Nuhfer      to Consulting Agreement at        Non-Responsive
             15:39:16
                                               issue in this case.


                                               Personal discussion unrelated
            04/17/2020
Text Msg                    Esther Nuhfer      to Consulting Agreement at        Non-Responsive
             15:34:04
                                               issue in this case.


                                               personal discussion unrelated
            07/29/2018
Text Msg                    Esther Nuhfer      to Consulting Agreement at        Non-Responsive
             11:45:20
                                               issue in this case.




                                               38
                          Participants
                        Including David
Format     Date/Time         Rivera                  Subject                Privilege Asserted

                                          personal discussion unrelated
           07/29/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at         Non-Responsive
            11:40:50
                                          issue in this case.


                                          personal discussion unrelated
           04/08/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at       Non-Responsive
            16:22:15
                                          issue in this case.


                                          personal discussion unrelated
           04/08/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at       Non-Responsive
            10:11:06
                                          issue in this case.


                                          political discussion unrelated
           04/07/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at       Non-Responsive
            18:06:38
                                          issue in this case.


                                          political discussion unrelated
           04/07/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at       Non-Responsive
            18:02:29
                                          issue in this case.


                                          political discussion unrelated
           01/31/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at       Non-Responsive
            22:55:14
                                          issue in this case.


                                          Personal discussion unrelated
           01/31/2018
Text Msg                Esther Nuhfer     to Consulting Agreement at       Non-Responsive
            11:40:40
                                          issue in this case.


                                          Personal discussion unrelated
           05/09/2019
Text Msg                Bertica Cabrera   to Consulting Agreement at       Non-Responsive
            16:53:34
                                          issue in this case.


                                          political discussion unrelated
           01/16/2019
Text Msg                Bertica Cabrera   to Consulting Agreement at       Non-Responsive
            07:56:45
                                          issue in this case.




                                          39
                          Participants
                        Including David
Format     Date/Time         Rivera                  Subject                Privilege Asserted

                                          political discussion unrelated
Text Msg                Bertica Cabrera   to Consulting Agreement at       Non-Responsive
           09/16/2018                     issue in this case.
            20:52:28

                                          political discussion unrelated
           03/30/2020
Text Msg                Pete Sessions     to Consulting Agreement at         Non-Responsive
            15:43:41                      issue in this case.


                                          political discussion unrelated
           03/28/2018
Text Msg                Pete Sessions     to Consulting Agreement at         Non-Responsive
            18:25:49                      issue in this case.


                                          political discussion unrelated
           03/28/2018
Text Msg                Pete Sessions     to Consulting Agreement at         Non-Responsive
            16:49:53                      issue in this case.


                                          political discussion unrelated
           04/07/2018
Text Msg                Unknown           to Consulting Agreement at         Non-Responsive
            12:54:50                      issue in this case.


                                          Political discussion unrelated
           11/26/2020
Text Msg                Unknown           to Consulting Agreement at         Non-Responsive
            09:07:35                      issue in this case.


                                          Political discussion unrelated
           01/10/2019
Text Msg                Unknown           to Consulting Agreement at         Non-Responsive
            11:01:08                      issue in this case.


                                          personal discussion unrelated
           1/10/2022
Text Msg                Unknown           to Consulting Agreement at         Non-Responsive
             14:26                        issue in this case.


                                          personal discussion unrelated
            1/9/2018
Text Msg                Unknown           to Consulting Agreement at         Non-Responsive
              12:29                       issue in this case.




                                          40
                                 Participants
                               Including David
Format          Date/Time           Rivera                  Subject              Privilege Asserted

                                                 personal discussion unrelated
                 1/9/2018
Text Msg                      Unknown            to Consulting Agreement at       Non-Responsive
                   12:26                         issue in this case.



           Dated: March 3, 2022.

                                             /s/ Jason Johnson
                                             Tucker H. Byrd
                                             Florida Bar No. 381632
                                             Min Cho
                                             Florida Bar No. 754331
                                             Jason Johnson
                                             Florida Bar No. 186538
                                             BYRD CAMPBELL, P.A.
                                             180 Park Avenue North, Suite 2A
                                             Winter Park, Florida 32789
                                             Telephone: (407) 392-2285
                                             Facsimile: (407) 392-2286
                                             Primary Email: TByrd@ByrdCampbell.com
                                             Primary Email: MCho@ByrdCampbell.com
                                             Counsel for Defendant/Counter-Plaintiff




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 3, 2022, a copy of the foregoing has been furnished

via electronic mail to all counsel of record as follows:

       Jeffrey B. Korn, Esq.
       WILLKIE FARR & GALLAGHER LLP
       787 Seventh Avenue
       New York, New York 10019
       JKorn@Willkie.com

       Michael J. Gottlieb, Esq.
       Sarah Wastler, Esq.
       WILLKIE FARR & GALLAGHER LLP
       1875 K Street, N.W.
       Washington, D.C. 20006
       MGottlieb@Willkie.com
       SWastler@Willkie.com

                                              /s/ Tucker H. Byrd, Esq.
                                              Tucker H. Byrd




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